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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO
In re:                                           )
                                                 )        Case No. 10-24238 HRT
SVS HOLDINGS, INC.,                              )        Chapter 7
                                                 )
and;                                             )        Case No. 14-11360-HRT
                                                 )        Chapter 11
SEQUOIA VOTING SYSTEMS, INC.,                    )
                                                 )        Jointly Administered under
         Debtors.                                )        Case No. 10-24238-HRT

    ALTERNATIVE MOTION FOR LEAVE TO FILE INTERLOCUTORY APPEAL


       Tom        Connolly, Chapter
       Tom H. Connolly,       Chapter 7 Trustee,
                                         Trustee, and
                                                   and Sequoia
                                                        Sequoia Voting
                                                                  Voting Systems,
                                                                          Systems, Inc.
                                                                                     Inc. ("SVS")
                                                                                           (“SVS”)
(together, the “Trustee”),
               "Trustee"), by and through their undersigned attorneys, hereby files his Alternative
Motion for Leave to File Interlocutory Appeal (the “Motion”)
                                                    "Motion") and states as follows:

                                 PROCEDURAL BACKGROUND

        1.
        1.      On June
                On    June 8,
                           8, 2010,
                               2010, SVS
                                      SVS filed
                                             filed aa voluntary
                                                       voluntary petition
                                                                 petition under
                                                                           under Chapter
                                                                                   Chapter 11
                                                                                            11 ofof the
                                                                                                     the
Bankruptcy Code
             Code (the
                    (the “SVS
                         "SVS Bankruptcy
                                BankruptcyCase”).      SVS’s primary
                                             Case"). SVS's    primary creditor at the time of its filing
          remains Smartmatic
was and remains     Smartmatic Corporation,
                                 Corporation, n/k/a Smartmatic
                                                       Smartmatic USA
                                                                  USA Corporation
                                                                         Corporation ("Smartmatic").
                                                                                       (“Smartmatic”).
SVS   never had
SVS never    had an
                  an operating
                       operating business
                                  business to reorganize.
                                                reorganize. Accordingly,
                                                              Accordingly, on on September
                                                                                 September 21, 20122012
Smartmatic
Smartmatic filed
             filed aa motion
                      motion to
                              to convert
                                 convert the
                                          the SVS
                                              SVS Bankruptcy
                                                    BankruptcyCase
                                                                 Casetotoaa case
                                                                            case under
                                                                                 underChapter
                                                                                        Chapter7.7. On
October 16, 2012, the Bankruptcy Court entered an order converting the SVS BankruptcyBankruptcy Case
to a case under Chapter 7 and the Trustee was appointed.

         2.
         2.     Thereafter,
                Thereafter, onon December
                                  December 7,      2012, the
                                               7, 2012,     the Trustee
                                                                 Trustee initiated
                                                                           initiated an
                                                                                     an avoidance
                                                                                         avoidance action
                                                                                                      action
against Dominion Voting Systems Corporation and/or Dominion Voting Systems, Inc. (together,
“Dominion”) by filing an adversary
"Dominion")                  adversary proceeding
                                         proceeding in thethe Bankruptcy
                                                               Bankruptcy Court captioned Connolly v.
Dominion Voting
Dominion     VotingSys.Sys. Corp.,
                             Corp., et    al., Adv.
                                      et al.,  Adv. Proc.
                                                       Proc. No.No. 12-01757-HRT
                                                                      12-01757-HRT (the   (the "Adversary
                                                                                                 “Adversary
Proceeding”).   In the Adversary    Proceeding,   in addition   to
Proceeding"). In the Adversary Proceeding, in addition to avoidanceavoidance    claims brought   pursuant to
11 U.S.C.
11  U.S.C. §§§§ 544
                 544 and
                      and 548,
                            548, the
                                   the Trustee
                                        Trustee also
                                                   alsosought
                                                        sought totosubstantively
                                                                       substantively consolidate
                                                                                       consolidate SVS's
                                                                                                     SVS’s
bankruptcy estate
bankruptcy   estate with                   liabilities of
                    with the assets and liabilities    of Sequoia
                                                            Sequoia Voting
                                                                      Voting Systems,
                                                                               Systems, Inc.
                                                                                          Inc. ("Sequoia"),
                                                                                                (“Sequoia”),
which had not yet filed its Chapter
                              Chapter 1111 case.  At the
                                           case. At   the request
                                                           request of
                                                                    of the
                                                                        the defendants,
                                                                            defendants, the
                                                                                         the reference
                                                                                             reference was
withdrawn to
withdrawn    to the  District Court
                the District   Court by   Order dated
                                       by Order    dated June     11, 2013
                                                           June 11,   2013 (Dist.
                                                                              (Dist. Ct. Docket
                                                                                          Docket No. 14),
                                                                                                        14),
although the District
although      District Court referred
                               referred the Adversary Proceeding
                                                           Proceeding to  to the Bankruptcy
                                                                                  Bankruptcy Court
                                                                                               Court for all
pre-trial matters.
pre-trial           The Adversary
          matters. The   Adversary Proceeding
                                     Proceeding is presently
                                                      presently pending in the District Court as Case
No. 13
No. 13-cv-00169-REB.
        -cv-00169 -REB

       3.
       3.         February 11, 2014, the Trustee,
               On February                  Trustee, as President
                                                        President of Sequoia,
                                                                     Sequoia, filed the
                                                                                    the Sequoia
                                                                                        Sequoia
Chapter 11 bankruptcy case,
                       case, case
                              case number
                                   number 14-11360
                                           14-11360 HRT
                                                     HRT (the
                                                           (the “Sequoia
                                                                "Sequoia Bankruptcy
                                                                         BankruptcyCase”).
                                                                                     Case"). On
July 18, 2014, Sequoia filed its Chapter 11 Plan of Liquidation
                                                    Liquidation of Sequoia Voting Systems, Inc.


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     “Plan”) and
(the "Plan") and accompanying
                  accompanying Disclosure
                               Disclosure Statement.
                                          Statement. See Sequoia Bankruptcy Case, Docket
                                                         Sequoia Bankruptcy
Nos. 36 and 37.

        4.           the direction
                At the   direction of the
                                       the Bankruptcy
                                            Bankruptcy Court,
                                                         Court, the   parties filed
                                                                  the parties         Joint Motion
                                                                              filed a Joint  Motion for
Clarification of
Clarification of the   Bankruptcy Court’s
                  the Bankruptcy              Authority to
                                     Court's Authority                   Order Confirming
                                                          to Enter an Order     Confirming a Proposed
                                                                                               Proposed
Chapter 11 Plan Which Includes Substantive Consolidation of the Bankruptcy Estate of SVS and
Sequoia
Sequoia (Dist.
          (Dist. Ct.
                 Ct. Docket.
                      Docket. No.
                                No. 23).  After briefing,
                                    23). After   briefing, the
                                                            the District
                                                                District Court
                                                                          Court entered
                                                                                entered its Order
                                                                                            Order dated
September 23, 2015 (Dist. Ct. Docket. No. 31), ruling that “[I]f "[I]f the bankruptcy court confirms a
plan of reorganization which includes substantive consolidation of SVS and Sequoia, I will treat
such an order as proposed
such               proposed findings
                               findings of
                                         of fact
                                            fact and conclusions
                                                      conclusions ofof law
                                                                        law with
                                                                            with regard
                                                                                  regard to
                                                                                         to the
                                                                                            the issue
                                                                                                issue of
substantive consolidation in this adversary proceeding.”
                                               proceeding."

        5.
        5.          Amended Disclosure
               An Amended      Disclosure Statement
                                           Statement was
                                                      was filed    November 30, 2015.
                                                          filed on November       2015. Id. at
Docket No. 67. TheTheBankruptcy
                       Bankruptcy Court
                                  Court approved
                                        approved the
                                                  the Amended
                                                      Amended Disclosure
                                                                Disclosure Statement on January
12, 2016, ordered that the Plan and Amended Disclosure Statement be circulated to creditors for
balloting and set a plan confirmation hearing. See Sequoia Bankruptcy Case, Docket No. 74.

        6.
        6.     On April 1, 1, 2016,
                              2016, Dominion
                                      Dominion filed
                                               filed its
                                                      its Objection
                                                          Objection of
                                                                     of Dominion
                                                                         Dominion Voting
                                                                                   Voting Systems
                                                                                          Systems
Corporation and
Corporation   and Dominion
                  Dominion Voting
                               Voting Systems,
                                        Systems,Inc.
                                                  Inc.to
                                                       to the
                                                           the Chapter
                                                               Chapter 11       of Sequoia
                                                                        11 Plan of Sequoia Voting
                                                                                           Voting
Systems, Inc. (the "Objection").
                   “Objection”). See Sequoia
                                        Sequoia Bankruptcy
                                                 BankruptcyCase,
                                                               Case,Doc.
                                                                     Doc.No.
                                                                           No.87.  Dominion’s was
                                                                               87. Dominion's
the only objection filed to the Plan.

        7.      Creditors returned
                Creditors returned their
                                     their ballots
                                           ballotsby
                                                   bythe
                                                      the deadline
                                                          deadlineof
                                                                   of April
                                                                      April1,1, 2016. All creditors
                                                                                2016. All creditors
eligible to vote submitted ballots accepting the Plan. See Findings and Conclusions, p. 14.

         8.
         8.     Beginning June 27, 2016 through July 7, 2016, the Bankruptcy Court conducted a
      regarding confirmation
trial regarding confirmation of
                             of the
                                the Plan.  On December
                                     Plan. On December 22,
                                                         22, 2016,
                                                             2016, the
                                                                   the Bankruptcy
                                                                       Bankruptcy Court entered
its Order Denying Confirmation (Docket No. 595) (the “Order”)
                                                        "Order") and its Confidential Findings of
Fact and
Fact   and Conclusions
            Conclusions of   Law Filed
                          of Law    Filed Under
                                           Under Seal
                                                 Seal (Docket
                                                       (Docket No.
                                                                 No. 594)
                                                                       594) (the
                                                                             (the "Findings
                                                                                   “Findings and
                                                                                             and
Conclusions”), denying substantive consolidation of SVS and Sequoia (together, the “Debtors”).
Conclusions"),                                                                       "Debtors").

       9.
       9.     Thereafter,
              Thereafter, on
                           on December
                               December28, 28, 2016,
                                                2016, the    Trustee filed
                                                        the Trustee          his Motion
                                                                       filed his  Motion to Extend
                                                                                            Extend
Deadline to File Objections to Proposed Findings
Deadline                                 Findings of Fact and Conclusions
                                                                   Conclusions of Law Pursuant to
FED. R.
FED. R. B ANKR. P.P.9033
        BANKR.       9033and
                          andD.C.C  OLO.LCIVR84.1 (the
                              D.C.Cow.LCB,TR84.1        (the“Motion
                                                             "Motion for
                                                                       for Extension”).
                                                                           Extension"). See Docket
          TheMotion
No. 597. The  Motionfor
                      forExtension
                          Extension was
                                    was granted
                                        granted the
                                                  the following
                                                      following day and allowed the Trustee until
Monday, January
Monday,   January 23,
                  23, 2017
                      2017 in which
                               which to file
                                         file objections
                                              objections toto the
                                                               the Findings
                                                                    Findings and
                                                                              and Conclusions.
                                                                                  Conclusions. See
Docket No. 598.

         10.
         10.              to FED.
                 Pursuant to FED. R.
                                  R. B ANKR. P.P.8002,
                                     BANKR.        8002,any
                                                          anynotice
                                                              noticeofofappeal,
                                                                         appeal,separate
                                                                                 separate and
                                                                                           and apart
                                                                                                apart from
the filing of objections to the Finding and Conclusions, must be filed within fourteen (14) days
   the entry
of the   entry of
                of aajudgment,
                      judgment, order
                                order or or decree
                                             decree being
                                                     being appealed
                                                           appealed or, in in this
                                                                               this case,
                                                                                     case, by
                                                                                            by Thursday,
                                                                                                Thursday,
January
January 5,5, 2017.
             2017.FED.
                    FED.R.
                         R.BANKR.
                            BANKR. P.P. 8002(a)(1).
                                        8002(a)(1).

        11.
        11.        January 5, 2017,
                On January    2017, the Trustee
                                         Trustee filed
                                                 filed his Notice
                                                            Notice of Appeal
                                                                        Appeal and
                                                                               and Statement
                                                                                    Statement of
Election
Election (Docket
          (Docket No.
                  No. 600)
                      600) (the
                           (the “Notice
                                "Notice of
                                        of Appeal”).
                                           Appeal"). AsAs specified
                                                          specified in the Notice
                                                                           Notice of Appeal,
                                                                                     Appeal, the
Trustee
Trustee has appealed
            appealed the Order Denying
                                Denying Confirmation
                                         Confirmation and
                                                        and elected
                                                             elected to
                                                                     to have
                                                                        have the appeal
                                                                                 appeal heard
                                                                                        heard by
District Court.

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        12.
        12.     In this case,
                In this case, the
                                the Order
                                     Order Denying
                                            Denying Confirmation
                                                     Confirmation isis a "final
                                                                         “final order"
                                                                                 order” pursuant
                                                                                         pursuant to
28 U.S.C.
    U.S.C. §§ 158(a)(1)
              158(a)(1)and
                         and thus
                              thus is
                                    is appealable
                                       appealable as
                                                  as aa matter
                                                        matter of right
                                                                  right under
                                                                        under the
                                                                               the "collateral
                                                                                    “collateral order
                                                                                                order
doctrine.” Alternatively,
doctrine."   Alternatively, to the
                               the extent
                                    extent the
                                           the Order
                                               Order Denying
                                                     Denying Confirmation
                                                               Confirmation is
                                                                             is deemed
                                                                                deemed notnot to
                                                                                              to be
                                                                                                 be a
final order, judgment or decree, the Trustee, as further set forth below, seeks leave of this Court
to appeal the Order Denying Confirmation on an interlocutory basis.

                                             REQUESTED RELIEF

        13.
        13.     The Trustee
                     Trustee asserts
                              asserts that             appeal the Bankruptcy
                                        that he may appeal           Bankruptcy Court's
                                                                                  Court’s Order
                                                                                             Order Denying
                                                                                                     Denying
Confirmation as an appeal of right
                                right under
                                        under 28
                                              28 U.S.C.
                                                  U.S.C. §§ 158(a)(1).
                                                            158(a)(1). Specifically, the Order Denying
Confirmation isis appealable
Confirmation       appealable under
                                under the     collateral order
                                         the collateral   order doctrine
                                                                  doctrine as further
                                                                                further discussed
                                                                                           discussed below.
                                                                                                      below.
However, in
However,    in the alternative,
                   alternative, and
                                 and only
                                       only in
                                            in the event a determination
                                                              determination is    made that
                                                                               is made              Trustee’s
                                                                                          that the Trustee's
                          Denying Confirmation requires
appeal from the Order Denying                        requires leave pursuant
                                                                      pursuant to 28 U.S.C.
                                                                                        U.S.C. §§ 158(a)(3)
                                                                                                    158(a)(3)
     FED. R.
and FED.  R. BBANKR.
               ANKR. P.P.8004,
                            8004,the
                                   theTrustee
                                       Trusteeseeks
                                                seeksleave
                                                       leaveofofthis
                                                                 thisCourt
                                                                      Courtto
                                                                            tofile
                                                                               file an
                                                                                    an interlocutory
                                                                                       interlocutory appeal
    the Court's
of the  Court’s Order
                  Order Denying
                         Denying Confirmation.
                                     Confirmation. The  TheOrder
                                                             OrderDenying
                                                                      Denying Confirmation
                                                                                 Confirmation involves
                                                                                                  involves a
controlling question
controlling  question of
                       of law for which there is substantial ground for difference of opinion, and
the immediate
     immediate resolution
                 resolution of
                             of the same will
                                            will materially
                                                  materially advance
                                                               advance the ultimate
                                                                              ultimate resolution
                                                                                         resolution of plan
                                                                                                         plan
confirmation that provides for substantive consolidation of the Debtors.

                                                    DISCUSSION

A.       Appeal of
         Appeal      the Order
                 of the  Order Denying
                                Denying Confirmation
                                        Confirmation isis an Appeal of
                                                          an Appeal    Right Under
                                                                    of Right Under the
                                                                                   the
         Collateral Order Doctrine

        14.
       14.      The District Court has jurisdiction to hear appeals
                                                             appeals from
                                                                     from final
                                                                           final judgments,
                                                                                  judgments, orders
                                                                                                 orders
                               158(a)(1).1 "Orders
and decrees. See 28 U.S.C. § 158(a)(1).1    “Ordersmay
                                                   may also
                                                         also be
                                                              be considered
                                                                 considered ‘final’
                                                                             'final' ifif they
                                                                                           they meet the
requirements of
requirements  of the collateral order doctrine."
                                      doctrine.” In re
                                                     re McCann,
                                                        McCarn, 218 B.R. 154, 157 (B.A.P. 10th
                   Quackenbush, 517 U.S. at 710-12,
Cir. 1998) (citing Quackenbush,                710–12, 116
                                                        116 S.Ct. at 1718; Digital Equip. Corp. v.
Desktop Direct, Inc., 511 U.S. 863, 114 S.Ct. 1992, 128 L.Ed.2d 842 (1994); Cohen v. Beneficial
Indus. Loan Corp., 337 U.S. 541, 69 S.Ct. 1221, 93 L.Ed. 1528 (1949)).

        15.
        15.    “An order
               "An  order is 'final'
                              ‘final’under
                                      under the
                                              thecollateral
                                                   collateral order
                                                               order doctrine
                                                                      doctrine if
                                                                                if itit (1)
                                                                                         (1)conclusively
                                                                                             conclusively
determines aa disputed
determines    disputed question
                       question that
                                 that is
                                      is completely
                                         completely separate
                                                       separate from
                                                                 from the
                                                                       the merits
                                                                           merits ofof the
                                                                                         the action,
                                                                                             action, (2) is
effectively unreviewable
            unreviewable on
                         on appeal
                             appeal from
                                     from aa final
                                             final judgment,
                                                    judgment, and
                                                                and (3)
                                                                    (3) is too important to be denied
review.” McCarn, 218 B.R. at 157.
review."

       16.
       16.     In  this case,
               In this  case, the
                               the Trustee
                                   Trustee asserts
                                           asserts each
                                                   each of
                                                        of the
                                                            the elements
                                                                 elements of
                                                                          of the
                                                                              the collateral
                                                                                   collateral order
                                                                                              order
doctrine apply to the Trustee’s
                      Trustee's Notice of Appeal.

         ●
         •         The Order Denying Confirmation Conclusively Determines
                                                                    Determines a Disputed Question
                   that is Completely Separate from the Merits of the Action

1I
   Although in
   Although   in the  context of a Chapter 13 plan the Tenth
                 the context                                  Tenth Circuit
                                                                    Circuit Court of Appeals
                                                                                     Appeals has indicated
                                                                                                   indicated that
                                                                                                              that denial
                                                                                                                   denial of
confirmation
confirmation is not a “final”
                         "fmal" order for purposes of appeal, see Simons v. FDIC, 908 F.2d 643, 644 (10th Cir. 1990),
undersigned counsel
undersigned  counsel has has been
                              been unable
                                   unable to locate binding legal authority
                                                                     authority addressing
                                                                               addressing the
                                                                                           the denial
                                                                                               denial of confirmation
                                                                                                          confirmation of
                                                                                                                        of a
Chapter 11
Chapter  11 plan.
            plan. ItItisisfurther
                           furtherasserted
                                   asserted that,
                                             that, notwithstanding
                                                    notwithstanding the Simons decision,
                                                                                decision, the collateral
                                                                                              collateral order doctrine
                                                                                                               doctrine is a
separate and distinct legal theory which is applied apart from the analysis contained in Simons.


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        17.
        17.    The Order Denying
                           Denying Confirmation,
                                     Confirmation, when
                                                   when viewed
                                                         viewed in in the
                                                                      the broad
                                                                           broad context
                                                                                 context of the two
bankruptcy cases,
bankruptcy   cases,determined
                     determineda a disputed
                                      disputedquestion
                                                questionthat
                                                          thatisis separate
                                                                   separate and    apart from
                                                                              and apart   from the
                                                                                                 the
administration of the two estates. Moreover, the
                          estates. Moreover,  the main
                                                  main question
                                                       question presented
                                                                 presented by the Plan (and about
which the parties
which       parties vehemently
                    vehemently disagree)
                                  disagree) was
                                            was whether
                                                 whether the Debtors
                                                               Debtors should
                                                                           should be
                                                                                   be substantively
                                                                                       substantively
consolidated pursuant
consolidated pursuant to
                       to 11
                          11 U.S.C.
                             U.S.C. §§ 1123(a)(5)(C).  This question
                                       1123(a)(5)(C). This  question isis completely
                                                                          completely separate from
the requirements of confirmation of a Chapter 11 plan under 11 U.S.C. § 1129(a).

       18.
       18.    Moreover, until
              Moreover,      until there
                                    there isis the
                                                the ability
                                                     ability toto appeal
                                                                   appeal the
                                                                            theBankruptcy
                                                                                 Bankruptcy Court's
                                                                                              Court’s
determination regarding
determination regarding substantive
                         substantive consolidation,
                                      consolidation, thethe Trustee
                                                            Trustee cannot
                                                                     cannot file another plan because
substantive consolidation
substantive consolidation of
                          of the
                              the Debtor
                                  Debtor entities
                                         entities isis at the heart of the enhanced recoveries to the
general unsecured creditors of SVS and Sequoia.

         ●
         •     The Order Denying Confirmation
                                 Confirmation is Effectively
                                                 Effectively Unreviewable
                                                             Unreviewable on
                                                                          on Appeal
                                                                             Appeal from a
               Final Judgment

        19.    As set forth above, the purpose of proposing the Plan was to obtain confirmation,
which necessarily
which  necessarily included
                     included substantive
                               substantiveconsolidation
                                            consolidationofofthe
                                                              thetwo
                                                                  twoDebtors.          Plan confers
                                                                        Debtors. The Plan   confers
substantial benefits  on the creditors  which  may  not be available
substantial benefits on the creditors which may not be available in   in the event the Debtors are
                                                                                        Debtors
liquidated.  Without review
liquidated. Without    review ofof the
                                    theOrder
                                        OrderDenying
                                              Denying Confirmation
                                                        Confirmation and,
                                                                        and, more
                                                                             more specifically,
                                                                                   specifically, the
Bankruptcy Court’s
Bankruptcy            determination that substantive consolidation
             Court's determination                    consolidation was
                                                                     was not warranted, the Order
Denying Confirmation
          Confirmation will be effectively unreviewable
                                             unreviewable on
                                                           on appeal
                                                              appeal because
                                                                      because no
                                                                               no other plan can be
proposed and liquidation will significantly prejudice the creditors of both bankruptcy estates.

         ●
         •      The Order Denying Confirmation is Too Important to be Denied Review

        20.    The importance
                    importance of the substantive
                                        substantive consolidation
                                                    consolidation determination
                                                                  determination in in the
                                                                                      the context
                                                                                           context of
plan confirmation
plan  confirmation and
                     and the
                          the Adversary
                              AdversaryProceeding
                                           Proceedingcannot
                                                         cannotbebeoverstated.
                                                                    overstated. In In the   Order of
                                                                                       the Order
September 23, 2015 (District Court Docket No. 31), the District Court stated, “[t]he
                                                                                "[t]he key question
                how an
at issue now is how  an order
                        order of
                              of the
                                  the bankruptcy
                                      bankruptcy court
                                                  court approving
                                                        approving a plan
                                                                     plan of
                                                                          of reorganization
                                                                              reorganization which
includes substantive
includes  substantive consolidation
                      consolidationof of SVS
                                         SVS and
                                              and Sequoia
                                                   Sequoia would
                                                            would affect
                                                                   affect issues
                                                                          issues in this
                                                                                      this adversary
                                                                                            adversary
proceeding.”
proceeding."

       21.     Resolution of the substantive consolidation issue may be determinative of whether
any plan
any plan can
          can be confirmed
                   confirmed by   Sequoia. The
                              by Sequoia.    The final
                                                  final determination
                                                         determination ofof the matter is
                                                                            the matter           only
                                                                                        is not only
important to
important         creditors of SVS
           to the creditors    SVS and
                                    and Sequoia,
                                          Sequoia, but
                                                    but also
                                                        also could
                                                              could potentially
                                                                     potentially have
                                                                                 have aa significant
                                                                                          significant
impact on the Adversary Proceeding.

        22.     Based on
                Based         the foregoing,
                          on the    foregoing, the    Trustee asserts
                                                the Trustee    asserts that  the three
                                                                        that the  three elements
                                                                                        elements of  the
                                                                                                  of the
collateral order doctrine
                   doctrine have been met in this case and, accordingly, the Notice of Appeal filed
   the Trustee
by the  Trustee isis an
                      anappeal
                         appealofofright
                                     rightpursuant
                                           pursuanttoto2828U.S.C.
                                                            U.S.C.§ §158(a)(1)
                                                                       158(a)(1)and
                                                                                  and FEDR.
                                                                                    FED.  . R.BANKR.
                                                                                               BANKR. P.
8003.

B.      Alternatively, to the Extent the Court Disagrees that the Collateral Order Doctrine
        Alternatively,
        Applies to
        Applies          Case, the
                 to this Case, the Trustee
                                   Trustee Seeks
                                            Seeks Leave
                                                  Leave to Appeal
                                                            Appeal Pursuant
                                                                     Pursuant to 28
                                                                                  28 U.S.C.
                                                                                     U.S.C.
        § 158(a)(3)

       23.      Pursuant to 28 U.S.C. § 158(a)(3), "the
                Pursuant                              “the district courts of the United
                                                                                  United States shall
have jurisdiction to hear appeals . . . (3) with leave of court, from other interlocutory orders and
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decrees; and,
decrees;                        court, from
             and, with leave of court,  from interlocutory
                                              interlocutory orders and decrees
                                                                       decrees of
                                                                               of bankruptcy
                                                                                   bankruptcy judges
                                                                                              judges
entered in cases and proceedings
entered                   proceedings referred
                                       referred to      bankruptcy judges
                                                 to the bankruptcy  judges under
                                                                           under section
                                                                                  section 157
                                                                                          157 of this
title . . . .”
            ."

        24.    “Section 158 does not provide
               "Section                provide a standard
                                                 standard of
                                                           of review
                                                               review clarifying
                                                                       clarifying when an appeal
                                                                                           appeal
from     interlocutory order
from an interlocutory  order of the bankruptcy
                                    bankruptcy court is appropriate,"
                                                        appropriate,” Sheehan
                                                                        Sheehan v. Sheehan Pipe
                   2016 WL 7335637,
Line Constr. Co., 2016        7335637, at     (N.D. Okla.
                                        at *2 (N.D.  Okla. Dec.
                                                           Dec. 16,
                                                                  16, 2016);
                                                                      2016); however,
                                                                               however, the Tenth
                                                                                            Tenth
Circuit Bankruptcy Panel has determined that:

        Leave
        Leave toto hear
                    hear appeals
                           appeals from
                                    from interlocutory
                                           interlocutory orders
                                                           orders should
                                                                    should be granted
                                                                                 granted with
                                                                                           with
        discrimination and
        discrimination       reserved for cases
                         and reserved      cases of
                                                  of exceptional
                                                      exceptional circumstances.
                                                                   circumstances. Appealable
                                                                                    Appealable
        interlocutory orders
        interlocutory  orders must
                              must involve
                                    involve a controlling
                                              controlling question
                                                           question ofof law
                                                                         law as to which there
           substantial ground
        is substantial ground for difference
                                   difference of opinion, and the immediate
                                                                      immediate resolution
                                                                                  resolution of
        the order may materially advance the ultimate termination of the litigation.

                     7335637, at *2 (citing In re McCann,
Sheehan, 2016 WL 7335637,                         McCarn, 218 B.R. 154, 157 (B.A.P. 10th Cir.
1998)); In re Fox, 241 B.R. 224, 232 (B.A.P. 10th Cir. 1999).

        25.     FED. R.
                FED.   R. BBANKR.
                            ANKR. P.P.
                                     8004
                                       8004indicates
                                             indicatesthat
                                                       thataamotion
                                                              motion seeking
                                                                      seeking an
                                                                              an interlocutory appeal
must provide certain
               certain information
                        information as
                                    as follows:  “[t]o appeal
                                        follows: "[t]o  appeal from
                                                               from an
                                                                    an interlocutory
                                                                        interlocutory order or decree
of a bankruptcy court under 28 U.S.C. § 158(a)(3), a party must file with the bankruptcy clerk a
          appeal as
notice of appeal  as prescribed
                     prescribedby
                                byRule
                                    Rule8003(a),"
                                          8003(a),”FED.
                                                     FED.R.R.BANKR.
                                                             BANKR. P. P.8004(a)
                                                                          8004(a) which
                                                                                  which must include
the following:

        (A) the facts necessary to understand the question presented;

        (B) the question itself;

        (C) the relief sought;

        (D) the reasons why leave to appeal should be granted; and

              copy of
        (E) a copy of the
                       the interlocutory
                            interlocutory order
                                          order or decree
                                                   decree and
                                                          and any
                                                              any related
                                                                   related opinion
                                                                           opinion or
            memorandum.

FED. R.
FED.  R. BANKR. P.P.8004(b)(1)(A)-(E);
         BANKR.      8004(b)(1)(A)-(E); see also Sheehan, 2016 WL 7335637,
                                                                      7335637, at *2. As set forth
below, the factors in Rule
below,                 Rule 8004
                             8004 and
                                   and under
                                        under applicable
                                               applicable Tenth
                                                           Tenth Circuit
                                                                 Circuit legal
                                                                         legal authority,
                                                                                authority, weigh
                                                                                           weigh in
favor of granting leave to appeal,
                           appeal, to the extent
                                          extent the
                                                 the Court
                                                     Court does
                                                           does not
                                                                not believe
                                                                    believe the
                                                                             the Trustee’s
                                                                                 Trustee's Notice of
Appeal is a matter of right.

         ●
         •      Facts Necessary to Understand the Question Presented

        26.    In this case, the Bankruptcy Court’s     Findings and Conclusions are thirty-two (32)
                                                Court's Findings
single-spaced pages,
single-spaced  pages, including
                      including detailed
                                  detailed findings
                                            findings of
                                                     of fact
                                                         fact and
                                                              and conclusions
                                                                  conclusionsof oflaw.
                                                                                   law. Over the course
of a seven-day evidentiary hearing, the parties offered 848 proposed exhibits and testimony from
a number of witnesses, along with
                                with eleven
                                      eleven depositions
                                               depositions presented
                                                            presented in
                                                                       in paper
                                                                          paper or
                                                                                 or video
                                                                                     video format.
                                                                                            format. Most
    the evidence
of the   evidence heard
                  heard in thethe context
                                   context ofof Plan
                                                 Plan confirmation
                                                       confirmation was     addressed to
                                                                      was addressed      to the  issue of
                                                                                             the issue
substantive consolidation. See Findings and Conclusions, p. 12, n. 18-20.

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         ●
         •      The Questions Presented

        27.     Substantive
                Substantive consolidation
                              consolidation isis an equitable remedy that is broadly recognized. The
doctrine of
doctrine    of substantive
                substantive consolidation
                               consolidation allows            bankruptcy court,
                                                 allows a bankruptcy         court, under
                                                                                       under appropriate
                                                                                               appropriate
circumstances, to disregard a separate legal entity when doing so would be in the best interests of
the creditors and the bankruptcy
                       bankruptcy estate.    As pointed
                                    estate. As   pointed out
                                                          out by
                                                               by the
                                                                   the Bankruptcy
                                                                       Bankruptcy Court in the Findings
     Conclusions, the only Tenth Circuit precedent
and Conclusions,                              precedent predates
                                                          predates the Bankruptcy
                                                                         Bankruptcy Code
                                                                                      Code and
                                                                                             and all of the
case law that has
case            has been
                    been decided
                           decided on
                                    on this
                                        this subject
                                              subject since
                                                       since that
                                                              that enactment
                                                                    enactment of
                                                                               of the
                                                                                   the Bankruptcy
                                                                                        Bankruptcy Code.
                                                                                                     Code.
See, e.g., In re Fish v. East, 114 F.2d 177 (10th Cir 1940); FDIC v. Hogan, 593 F.2d 921 (10th
     1979). The
Cir. 1979).   The overriding
                   overriding question
                                question on appeal
                                              appeal has to do with the standard
                                                                            standard to be applied
                                                                                              applied by a
bankruptcy court
bankruptcy               considering substantive
              court in considering     substantive consolidation
                                                     consolidation and  and whether
                                                                            whether that    standard was
                                                                                       that standard   was
properly applied in the Findings and Conclusions:

        Whether the Bankruptcy Court erred in failing to apply or correctly apply the appropriate
        legal standard in determining
        legal standard    determining the issue of substantive
                                      the issue     substantive consolidation
                                                                consolidation inin the context of
                                                                                   the context
        Sequoia’s
        Sequoia's Plan.

        28.     A number of additional issues are essentially an outgrowth of the first:

        Whether the
        Whether        Bankruptcy Court
                  the Bankruptcy          erred in
                                    Court erred  in its
                                                     itsreliance
                                                         reliance on
                                                                   onunsubstantiated
                                                                       unsubstantiated accounting
                                                                                        accounting
        evidence and
        evidence        inadmissible expert
                   and inadmissible  expert testimony
                                             testimony in     analyzing the
                                                          in analyzing        issue of
                                                                         the issue  of substantive
                                                                                        substantive
        consolidation;

        Whether the
        Whether       Bankruptcy Court
                  the Bankruptcy  Court erred      failing to
                                        erred in failing    to consider
                                                                consider repeated
                                                                          repeated and
                                                                                    and significant
                                                                                         significant
        instances of
        instances     confusion and
                   of confusion     disregard of
                                and disregard      corporate formalities
                                                of corporate    formalities as  between SVS
                                                                             as between   SVS andand
        Sequoia by their board members, officers, and professionals;

        Whether the
        Whether        Bankruptcy Court
                  the Bankruptcy  Court erred
                                        erred in     application of the
                                              in its application    the concept
                                                                        concept of
                                                                                 of "substantial
                                                                                     “substantial
        identity” between
        identity" between SVS
                            SVS and Sequoia
                                    Sequoia or consider
                                               consider evidence
                                                        evidence relevant
                                                                  relevant to
                                                                           to the existence
                                                                                  existence of a
        “substantial identity;”
        "substantial identity;"

        Whether the
        Whether    the Bankruptcy
                        BankruptcyCourt
                                      Courterred
                                              erredinin its attempt at
                                                        its attempt    balancing of
                                                                    at balancing      equities, and
                                                                                   of equities, and in
        particular, failing to consider the interest and desires of the creditors of SVS and Sequoia;
        and

        Whether the
        Whether      Bankruptcy Court
                 the Bankruptcy   Court erred
                                        erred in its application
                                                     application of the
                                                                    the legal
                                                                         legal standard
                                                                               standard governing
                                                                                        governing
        nunc pro tunc substantive consolidation.

         ●
         •      The Relief Sought

        29.     The relief sought is the reversal or vacation of the Order Denying Confirmation.

         ●
         •      The Reasons Why Relief Should be Granted



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       30.      Leave
                Leave to appeal,
                         appeal, to the
                                     the extent
                                          extent necessary,
                                                 necessary, should
                                                            should be granted
                                                                      granted for
                                                                              for the
                                                                                   the following
                                                                                        following
reasons:

               a.
               a.      The Order Denying Confirmation and most importantly the order denying
                       substantive consolidation
                       substantive consolidation effectively
                                                   effectively precludes
                                                                precludes the
                                                                           the Trustee
                                                                               Trustee from filing
                                                                                       from filing
                       another plan until the matter can be reviewed by an appellate court.

               b.      If this
                          this Court
                               Court undertakes
                                      undertakes a de novo
                                                       novo review
                                                             review of the
                                                                        the Bankruptcy
                                                                             Bankruptcy Court's
                                                                                          Court’s
                       Findings and
                       Findings        Conclusions, concurrent
                                  and Conclusions,  concurrent consideration
                                                                considerationof of the  Trustee’s
                                                                                   the Trustee's
                       appeal will
                       appeal        result in
                                will result in aaconsiderably
                                                  considerably more
                                                                more efficient
                                                                      efficient use
                                                                                use ofof judicial
                                                                                          judicial
                       resources.

               c.
               c.      The   Order Denying
                       The Order     Denying Confirmation
                                                 Confirmation finally      determined claims
                                                                 finally determined      claims of    right
                                                                                                  of right
                       separable from, and collateral to, rights asserted through plan confirmation
                       which are too important
                       which            important to be denied
                                                          denied review and too independent
                                                                                     independent of the
                       cause itself
                       cause  itself to require
                                         require that
                                                  that appellate
                                                       appellate consideration
                                                                   consideration be deferred
                                                                                       deferred until the
                                  fully adjudicated.
                       cases are fully   adjudicated. See Cohen v. Beneficial
                                                                         Beneficial Indus. Loan Corp.,
                                                                                                   Corp.,
                       337  U.S.   541,   549  (1949).    As  indicated    previously,
                       337 U.S. 541, 549 (1949). As indicated previously, a determinationa  determination
                       allowing substantive
                       allowing   substantive consolidation
                                                consolidation isis the
                                                                    the only
                                                                        only avenue
                                                                             avenue for
                                                                                      for creditors
                                                                                           creditors to be
                                    bankruptcy cases.
                       paid in the bankruptcy            Otherwise, there is little to no reason to file
                                                 cases. Otherwise,
                       another plan of liquidation.

               d.
               d.      If an appeal
                             appeal is denied
                                       denied at
                                               at this
                                                   this time,
                                                         time, itit will
                                                                    will effectively
                                                                          effectively deny
                                                                                      deny any
                                                                                           any appellate
                                                                                                appellate
                       review of the Court's
                       review         Court’s determination
                                              determination that   that substantive
                                                                         substantive consolidation
                                                                                     consolidation is not
                       warranted.

                e.
                e.     If an appeal is not allowed at this time, the same will result in a significant
                       delay of the administration
                       delay          administration of      Debtors’ bankruptcy
                                                     of the Debtors'   bankruptcy cases
                                                                                    cases and likely
                       will result in the abandonment of claims that cannot be realized without a
                       finding for substantive consolidation.

         ●
         •     A Copy of the Order Denying Confirmation

        31.   A copy of the Confidential Findings of Fact and Conclusions of Law Filed Under
Seal
Seal is contemporaneously
        contemporaneously filed
                             filedunder
                                   underseal
                                         sealwith
                                             withthis
                                                  thisMotion.    copy of
                                                      Motion. A copy   of the
                                                                           the Order
                                                                               Order Denying
                                                                                     Denying
Confirmation is attached as Exhibit A.

       32.     Based on
               Based           foregoing, if the
                      on the foregoing,         the Court
                                                      Court determines
                                                             determines that
                                                                         that the Trustee’s Notice
                                                                              the Trustee's  Notice of
Appeal is not a matter
Appeal          matter of
                        of right
                            right and
                                  and isis instead
                                            instead interlocutory,
                                                     interlocutory, the Trustee
                                                                        Trustee asserts that the Court
                                                                                                 Court
should grant him leave to proceed on an interlocutory basis for the reasons set forth above.

        WHEREFORE, the
        WHEREFORE,         the Trustee
                               Trustee respectfully
                                       respectfully requests
                                                     requests that
                                                               that the
                                                                     the Court
                                                                          Court enter
                                                                                 enter an Order finding
that the
that the Notice
          Notice of    Appeal filed
                    of Appeal  filed by      Trustee is aa matter
                                     by the Trustee        matter of  of right
                                                                          right pursuant
                                                                                 pursuant to 28
                                                                                              28 U.S.C.
                                                                                                  U.S.C.
§ 158(a)(1).   Alternatively,
  158(a)(1). Alternatively,   the Trustee requests  the Court  grant   him  leave  to appeal the
                                                               grant him leave appeal the Court'sCourt’s
Order Denying
Order  Denying Confirmation
                   Confirmation pursuant
                                  pursuanttoto 28
                                               28 U.S.C.
                                                  U.S.C. §§ 158(a)(3)
                                                            158(a)(3) and      requests such
                                                                          and requests         other and
                                                                                         such other
further relief as is appropriate.



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        Dated this 5th day of January, 2017.

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                                                                                        Trustee,
                                               and Sequoia




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies
                              certifies that on this 5th day of January, 2017, a true and correct
copy of
copy   of the
            theforegoing
                 foregoing ALTERNATIVE
                            ALTERNATIVE MOTION       MOTIONFOR     FOR LEAVE
                                                                          LEAVE TO         FILE
                                                                                     TO FILE
INTERLOCUTORY APPEAL was deposited in the U.S. mail, postage paid, and addressed as
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